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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                              Plaintiffs,
                                                  Case No. 1:20-cv-03010-APM
v.
                                                  HON. AMIT P. MEHTA
GOOGLE LLC,

                              Defendant.


STATE OF COLORADO, et al.,

                              Plaintiffs,
                                                  Case No. 1:20-cv-03715-APM
v.
                                                  HON. AMIT P. MEHTA
GOOGLE LLC,

                              Defendant.



                PLAINTIFFS’ INITIAL PROPOSED FINAL JUDGMENT

       WHEREAS, Plaintiffs United States of America, and the States and Commonwealths of

Arkansas, California, Georgia, Florida, Indiana, Kentucky, Louisiana, Michigan, Missouri,

Mississippi, Montana, South Carolina, Texas, and Wisconsin, by and through their respective

Attorneys General (“Co-Plaintiff States”), filed their Complaint on October 20, 2020, and their

Amended Complaint on January 15, 2021;

       AND WHEREAS, Plaintiffs Colorado, Nebraska, Arizona, Iowa, New York, North

Carolina, Tennessee, Utah, Alaska, Connecticut, Delaware, District of Columbia, Guam, Hawaii,

Idaho, Illinois, Kansas, Maine, Maryland, Massachusetts, Minnesota, Nevada, New Hampshire,

New Jersey, New Mexico, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Puerto Rico,
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Rhode Island, South Dakota, Vermont, Virginia, Washington, West Virginia, and Wyoming

(together “Colorado Plaintiff States”) filed their Complaint on December 17, 2020;

         AND WHEREAS, the Court conducted a trial and entered Findings of Fact and

Conclusions of Law in both actions on August 5, 2024;

         AND WHEREAS, the Court entered judgment finding Google liable for violating

Section 2 of the Sherman Act by unlawfully maintaining its monopolies in the general search

services and general search text advertising markets;

         NOW THEREFORE, upon the record at trial and all prior and subsequent proceedings, it

is hereby ORDERED, ADJUDGED, AND DECREED:

I.       JURISDICTION

         The Court has jurisdiction over the subject matter of this action and over Google.

II.      APPLICABILITY

         This Final Judgment applies to Google, as defined below, and to all other persons in

active concert or participation with Google who have received actual notice of this Final

Judgment by personal service or otherwise.

III.     DEFINITIONS

         As used in this Final Judgment:

         A.     “Ads Data” means data related to Google’s selection, ranking, and placement of,

Search Text Ads in response to queries, including any User-side Data used in that process.

         B.     “AI Product” means any application, service, feature, tool, or functionality that

involves artificial intelligence capabilities.

         C.     “Android” means all code, software, applications, application programming

interfaces (APIs), and other products and services provided by Google through the Android Open


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Source Project (AOSP), including the open-source application framework, libraries, runtime, and

kernel, which are published at http://source.android.com (or successor sites), and any software

development kits made available at http://developer.android.com (or successor sites) and all

code, software, applications, APIs, and other products and services provided by Google that are

critical, in the determination of the Technical Committee, to the full and proper functioning of an

Android Device. For the purposes of this Final Judgment, Android also includes (1) the Google

Play Store and Google Play Services; (2) all other code, software, applications, APIs, and

products and services provided by Google that are critical, in the determination of the Technical

Committee, to the full and proper functioning of the Google Play Store and Google Play

Services; and (3) all code, software, applications, APIs, and other products and services that

Google adds to open-source Android to implement the operating system on Pixel Devices.

        D.      “API” or “application programming interface” means a mechanism that allows

different software components to communicate with each other.

        E.      “Apple” means Apple Inc., a corporation organized and existing under the laws of

the State of California, headquartered in Cupertino, California, its successors and assigns, and its

subsidiaries, divisions, groups, affiliates, partnerships, and joint ventures, and their directors,

officers, managers, agents, and employees.

        F.      “Choice Screen” means a selection menu for either a Search Access Point or a

GSE default on a Search Access Point, which Plaintiffs approve.

        G.      “Chrome” means all code, software, applications, APIs, and other products and

services included in Google’s Chromium or the Chrome browser, including the open-source

application framework, libraries, runtime, and kernel which are published at

http://www.chromium.org (or successor sites), and all code, software, applications, APIs, and

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other products and services provided by Google that are critical, in the determination of the

Technical Committee, to the full and proper functioning of Chromium or the Chrome browser.

       H.         “Competitor” means any provider of, or potential entrant in the provision of, a

General Search Engine (GSE) or of Search Text Ads in the United States.

       I.         “Device” means any smartphone, tablet, laptop, desktop, or other device that

allows a user to access general search functionality.

       J.         “Distributor” is any Person that contracts with Google to display, load, or

otherwise provide access to a Google product.

       K.         “Google” means Defendant Google LLC, a limited liability company organized

and existing under the laws of the State of Delaware, headquartered in Mountain View,

California, its parent Alphabet Inc., their successors and assigns, subsidiaries, divisions, groups,

affiliates, partnerships, and joint ventures, and their directors, officers, managers, agents, and

employees.

       L.         “Google Browser” means any web browser owned by Google, including Chrome

until divested.

       M.         “Google Device” means any Device manufactured or refurbished by Google,

including Pixel phones and tablets.

       N.         “Google Grounding API” means a method for connecting foundation model

output to Google Search results through API.

       O.         “General Search Engine” or “GSE” means software or a service that produces

links to websites and other relevant information in response to a user query. “General Search

Engine” or “GSE” also has the meaning defined and used in the Court’s Memorandum Opinion

of August 5, 2024, ECF 1032, at 8.

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       P.      The terms “include” and “including” should be read as “including but not limited

to,” and any use of either word is not limited in any way to any examples provided.

       Q.      “Person” or “person” means any natural person, corporate entity, partnership,

association, joint venture, government entity, or trust.

       R.      “Publisher” means any Person who controls the legal right to any information

published or otherwise made available on any website or through any mobile app.

       S.      “Qualified Competitor” means a Competitor who meets the Plaintiffs’ approved

data security standards set by the Technical Committee and agrees to regular data security and

privacy audits by the Technical Committee.

       T.      “Ranking Signals” means variables that affect how all items on a Search Engine

Results Page (SERP) are positioned and ranked.

       U.      “Search Access Point” means any software, application, interface, digital product,

or service where a user can enter a query and receive (or be directed to a place to receive) a

response that includes information from a GSE. Search Access Points include OS-level Search

Access Points (e.g., widgets), browsers (including Search Access Points within browsers such as

browser address bars), and search apps as well as their widgets.

       V.      “Search Feature” in Google Search means any content on a SERP that is not an

organic link. Search Features include images, featured snippets, hotel units, query expansion

features like auto-complete, “did you mean” prompts, spelling corrections, and related searches.

       W.      “Search Index” means any databases that store and organize information about

websites and their content that is crawled from the web, gathered from data feeds, or collected

via partnerships, from which Google selects information to provide results to users in response to

general search queries.

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        X.     “Search Text Ad” means a general search text advertisement, which is an ad that

resembles an organic link on a SERP. “Search Text Ad” also has the meaning defined and used

in the Court’s Memorandum Opinion of August 5, 2024, ECF 1032, at 60, and includes Search

Text Ads appearing in or in connection with Google AI Overviews.

        Y.     “SERP” or “Search Engine Results Page” means the results provided by a search

engine, in response to a user query, including links and other features and content, including

from a broad index of the web. “SERP” or “Search Engine Results Page” also has the meaning

defined and used in the Court’s Memorandum Opinion of August 5, 2024, ECF 1032, at 19.

        Z.     “Technical Committee” or “TC” means the five-person committee of experts

appointed by the Court pursuant to Section X.A.

        AA.    “User-side Data” means all data that can be obtained from users in the United

States, directly through a search engine’s interaction with the user’s Device, including software

running on that Device, by automated means. User-side Data includes information Google

collects when answering commercial, tail, and local queries. User-side Data may also include

data sets used to train or fine-tune Google’s ranking and retrieval components, as well as

artificial intelligence models used for Google’s AI Product.

IV.     PROHIBITION ON FORECLOSING OR OTHERWISE EXCLUDING
        COMPETITORS THROUGH CONTRACTS WITH THIRD PARTIES THAT
        MAINTAIN GOOGLE’S MONOPOLIES

        The purposes of the following remedies are to unfetter the monopolized markets from

Google’s exclusionary practices, pry open the monopolized markets to competition, remove

barriers to entry, and ensure there remain no practices likely to result in unlawful monopolization

of these markets and related markets in the future by prohibiting contracts that foreclose or




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otherwise exclude Competitors, including by raising their costs, discouraging their distribution,

or depriving them of competitive access to inputs.

       A.      Preferential Treatment and Payments Prohibited: Google must not offer or

provide something of value to a third party, including payments or other commercial terms that

create an economic disincentive to compete in or enter the GSE or Search Text Ad market(s), for

(1) preferential treatment of a General Search Engine (GSE) or Search Access Point relative to

Competitors; (2) making or maintaining any GSE as a default within a new or existing Search

Access Point or for undermining, frustrating, interfering with, or in any way discouraging the use

of any GSE Competitor; or (3) preinstallation, placement, or default status of any Search Access

Point. This prohibition includes preferential treatment of GSE distribution or inputs that would

have the effect of disadvantaging any GSE Competitor.

       B.      Apple Search Access Points And Devices: Google must not offer or provide

anything of value to Apple—or offer any commercial terms—that in any way creates an

economic disincentive for Apple to compete in or enter the GSE or Search Text Ad markets.

       C.      Exclusionary Agreements with Publishers Prohibited: Google must not enter into

a contract or other agreement with any Publisher to license data from any Publisher, website, or

content creator, which provides Google exclusivity or otherwise restricts the Publisher’s ability

to license or otherwise make available the data to any other GSE or AI Product developer. This

includes, for example, any agreement with a “most favored nation” or any similar provision that

would require the Publisher to give Google the best terms it makes available to any other buyer

or licensee.

       D.      Conditional Access Prohibited: Google must not condition access or terms of

access to the Play Store or any other Google product on a distribution agreement for a GSE,

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Search Access Point, or Choice Screen; or an agreement not to distribute a Competitor’s product

or service. Google must not bundle, tie, comingle, or otherwise condition, a GSE or Search

Access Point with any other Google product, for example, by licensing a product to a Distributor

and including a GSE or Search Access Point for free.

       E.      Revenue Share Payments Prohibited: Google must not offer or provide to any

Distributor anything of variable value that is determined or calculated based on the usage of,

revenue generated by—or any similar factor for—any particular GSE (e.g., Google queries,

Google Search Text Ad clicks, Google selections on a Choice Screen).

       F.      Prohibited Investments: Within thirty (30) days of entry of this Final Judgment,

Google must notify Plaintiffs of any investment, holding, or interest in any Competitor, any

company that controls a Search Access Point or an AI Product, or in any technologies, such as

AI Products, that are potential entrants into the GSE or Search Text Ads markets or reasonably

anticipated competitive threats to GSEs. Within six (6) months, Google must divest any such

interest and immediately refrain from taking any action that could discourage or disincentivize

that company from developing products or services that compete with, disrupt, or disintermediate

Google’s GSE or Search Text Ads.

       G.      Prohibited Acquisitions: Google must not, without the prior written consent of the

United States, acquire any interest in, or part of, any company; enter into a new joint venture,

partnership, or collaboration, including any marketing or sales agreement; or expand the scope of

an existing joint venture, partnership, or collaboration, with any company that competes with

Google in the GSE or Search Text Ads markets or any company that controls a Search Access

Point or query-based AI Product. The decision whether to consent is within the sole discretion of

the United States, after consultation with the Co-Plaintiff States and the Colorado Plaintiff

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States. Nothing in this provision prevents any State from separately investigating or challenging

the legality of an acquisition, joint venture, partnership, or collaboration under applicable state or

federal law.

       H.      No Circumvention of This Section’s Purposes: Google may not undertake any

action or omission with the purpose or effect of circumventing these provisions or frustrating the

purposes of this Section. Complaints regarding non-compliance with this provision will be

reviewed in the first instance by the TC in accordance with Paragraph X.C.3 below.

V.     PROHIBITION ON FORECLOSING OR OTHERWISE EXCLUDING GSE AND
       SEARCH TEXT AD COMPETITORS THROUGH OWNERSHIP OR CONTROL
       OF RELATED PRODUCTS

       The purposes of the following remedies are to unfetter the monopolized markets from

Google’s exclusionary practices, pry open the monopolized markets to competition, remove

barriers to entry, and ensure there remain no practices likely to result in unlawful monopolization

of these markets and related markets in the future by requiring Google to divest its browser

Chrome and prohibiting Google from providing its search products preferential access to related

products or services that it owns or controls such as its mobile operating system (e.g., Android).

       A.      Chrome Divestiture: Google must promptly and fully divest Chrome, to a buyer

approved by the Plaintiffs in their sole discretion, subject to terms that the Court and Plaintiffs

approve. Google may not release any other Google Browser during the term of this Final

Judgment absent approval by the Court.

       B.      Android Divestiture Option: In lieu of adhering to the requirements of this Section

V with respect to Android, Google may elect to fully divest Android, to a buyer approved by the

Plaintiffs in their sole discretion, subject to terms that the Court and Plaintiffs approve. If Google

chooses to retain control of Android but fails to comply with the requirements of this Section V


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as they apply to Android, or if compliance with or enforcement of this Final Judgment proves

unadministrable or ineffective, then Plaintiffs may petition the Court to order the divestiture of

Android.

       C.      Self-Preferencing Prohibited: Except as permitted under Section IX, Google must

not use any Google-owned or operated asset (including any software, website, Device, service,

dataset, algorithm, or app) to preference Google’s GSE, Search Text Ads, or AI Products;

undermine, frustrate, interfere with, or in any way lessen the ability of a user to discover a rival

GSE or of an advertiser to discover or shift its Search Text Ad spending to a rival Search Text

Ads provider; limit the competitive capabilities of a rival GSE or rival Search Text Ads provider;

or otherwise impede user discovery of products or services that are competitive threats in the

GSE or Search Text Ads markets. For example, Google must not use its ownership or control of

Android or any other product or service to disadvantage Competitors, including prompting a user

to switch the default GSE or to install or switch a Search Access Point. For the avoidance of

doubt, Google must not provide itself with preferential access to Android or Google-owned apps

or data as compared to the access it provides to all other GSEs and AI Products, and must not use

its ownership and control of Android, or any other Google product or service, to:

               1.      make any Google GSE, Search Text Ads, or AI Product (including on-
                       device AI) mandatory on Android Devices, for example, by preventing
                       interoperability between Android AICore, or the Google Grounding
                       API and Competitor products and services or competitive threats in the
                       GSE or Search Text Ads markets;

               2.      reduce, prevent, or otherwise interfere with the distribution of rival GSE,
                       Search Text Ads, or AI Products on Android Devices;

               3.      degrade any aspect of quality, including the features, functionality, or user
                       experience, on rival GSE, Search Text Ads, or AI Products on Android
                       Devices;



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                4.     explicitly or implicitly, directly or indirectly, prevent or discourage
                       manufacturers or other Android partners (e.g., carriers) from working with
                       Google’s GSE, Search Text Ads, or AI Product rivals;

                5.     explicitly or implicitly, directly or indirectly, punish or penalize
                       manufacturers or other Android partners (e.g., carriers) that work with
                       Google’s GSE, Search Text Ads, or AI Product rivals; or

                6.     otherwise use its ownership and control of Android to explicitly or
                       implicitly, directly or indirectly, force or coerce manufacturers or other
                       Android partners (e.g., carriers) to (i) work with Google’s GSE, Search
                       Text Ads, or AI Products or (ii) give Google’s products and services any
                       better treatment than given Google’s rivals’ products.

         D.     Contingent Structural Relief: In the event the remedies in this Final Judgment

prove insufficient to serve their intended purposes of restoring competition or if Google attempts

to or is successful in, circumventing these remedies, then the Court may impose additional

structural relief, including the divestiture of Android. Five (5) years after entry of this Final

Judgment, if Plaintiffs demonstrate by a preponderance of the evidence that either or both

monopolized markets have not experienced a substantial increase in competition, then Google

shall divest Android unless Google can show by a preponderance of the evidence that its

ownership or control of Android did not significantly contribute to the lack of a substantial

increase in competition.

         E.     No Circumvention of This Section’s Purposes: Google may not undertake any

action or omission with the purpose or effect of circumventing these provisions or frustrating the

purposes of this Section. Complaints regarding non-compliance with this provision will be

reviewed in the first instance by the TC in accordance with Paragraph X.C.3 below.

VI.      REQUIRED DISCLOSURES OF SCALE-DEPENDENT DATA NECESSARY TO
         COMPETE WITH GOOGLE

         The purposes of these remedies are to remove barriers to entry, pry open the monopolized

markets to competition, and deprive Google of the fruits of its violations by providing

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Competitors access to scale-dependent data inputs—for both search and ads—that would

otherwise provide Google an ongoing advantage from its exclusionary conduct. These remedies

are intended to make this data available in a way that provides suitable security and privacy

safeguards for the data that Google must share. Google is prohibited from using and retaining

data to which access cannot be provided to Qualified Competitors on the basis of privacy or

security concerns.

       A.      Google’s Search Index:

               1.     Google must provide, at marginal cost, ongoing access to its Search Index
                      to Qualified Competitors such that it is equally available to Qualified
                      Competitors and Google.

               2.     Google must make available, through the Search Index, all content from
                      any Google-owned website, property, or other operated platform (e.g., all
                      Google owned or operated properties such as YouTube) which Google
                      uses in its own Search Index.

               3.     Google must provide the Search Index with latency and reliability
                      functionally equivalent to how Google is able to access its Seach Index.

               4.     Nothing in this Section VI purports to transfer intellectual property rights
                      of third parties to index users.

       B.      Publisher Opt-Out: Google must provide online Publishers, websites, and content

creators an easily useable mechanism to selectively opt-out of having the content of their web

pages or domains used in search indexing; used to train or fine-tune AI models, or AI Products;

used in retrieval-augmented generation-based tools; or displayed as AI-generated content on its

SERP, and such opt-out must be applicable for Google as well as for users of the Search Index.

Google must provide for an opt-out specific to itself and each index user on a user-by-user basis

and must transmit all opt-outs to index users in a useable format. Google must offer content

creators on Google-owned sites (all Google owned or operated properties including YouTube)

the same opt-out provided to Publishers, websites, and content creators. Google must not

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retaliate against any Publisher, website, or content creator who opts-out pursuant to this

provision.

       C.      User-side Data: For the term of this Final Judgment, Google must provide

Qualified Competitors, at no cost, with access to User-side Data on a non-discriminatory basis

while safeguarding personal privacy and security. Any User-side Data that Google collects and

uses as part of any of its products consistent with this Final Judgement can presumptively be

shared with Qualified Competitors consistent with personal privacy and security, as Google is

prohibited from using and retaining data to which access cannot be provided to Competitors on

the basis of privacy or security concerns. Google will have up to six (6) months from the date of

entry of this Final Judgment to implement the technology necessary to comply with this Section

VI, and time period will start once Plaintiffs, in consultation with the TC, determine that the

technology, including security and privacy safeguards, is fully functional. Qualified Competitors

may elect to receive real-time or daily access to the data via an API, data firehose, or data

transfer, or other suitable mechanism that Google makes available to or within its own GSE.

       D.      Synthetic Queries: Google must permit, at no cost, Qualified Competitors to

submit synthetic or simulated queries and Google must provide results in the same format as the

results provided in the API required in the Section VII below. The Qualified Competitor will be

entitled to log and use (in any way) Google’s results, including ads and anything else that would

appear on a Google SERP. The maximum number of allowable synthetic queries will be

determined by the Plaintiffs in consultation with the TC.

       E.      Ads Data: For the term of this Final Judgment, Google must provide Qualified

Competitors, at no cost, with access to all Ads Data on a non-discriminatory basis while

safeguarding personal privacy and security. Any Ads Data that Google collects and uses as part

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of any of its products consistent with this Final Judgement can presumptively be shared with

Qualified Competitors consistent with personal privacy and security, as Google is prohibited

from using and retaining data to which access cannot be provided to Competitors on the basis of

privacy or security concerns. Google will have up to six (6) months from the date of entry of this

Final Judgment to implement the technology necessary to comply with this Section VI, and the

time period will start once Plaintiffs, in consultation with the TC, determine that the technology,

including security and privacy safeguards, is fully functional. Qualified Competitors may elect to

receive real-time or daily access to the data via an API, data firehose, or other transfer, or other

suitable mechanism that Google makes available to or within its own GSE.

       F.      No Circumvention of This Section’s Purposes: Google may not undertake any

action or omission with the purpose or effect of circumventing these provisions or frustrating the

purposes of this Section. Complaints regarding non-compliance with this provision will be

reviewed in the first instance by the TC in accordance with Paragraph X.C.3 below.

VII.   REQUIRED TEMPORARY SYNDICATION OF SEARCH RESULTS AND ADS
       NECESSARY TO BUILD GSE QUALITY AND SCALE OF QUALIFIED
       COMPETITORS

       The purposes of the following remedies are to remove barriers to entry, pry open the

monopolized markets to competition, and deprive Google of the fruits of its violations by

enabling Competitors to quickly erode Google’s scale advantages, while also providing

incentives for those rivals and entrants to transition to independence. Google may not syndicate

its search results or Search Text Advertising except as allowed by this Section VII or otherwise

approved by Plaintiffs.

       A.      Search Syndication License: Google must take steps sufficient to make available

to any Qualified Competitor, at no more than the marginal cost of this syndication service, a


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syndication license whose term will be ten (10) years from the date the license is signed and

which makes available all non-advertising components of its GSE, including all organic results

and all Search Features, Ranking Signals for those organic results and Search Features, and

query understanding information such that a licensee is enabled to display a SERP, understand

Google’s ranking rationale, and how Google modified or refined the user’s query. Google must

provide the license on a non-discriminatory basis to any Qualified Competitor and may impose

no restrictions on use, display, or interoperability with Search Access Points, including of AI

Products, provided, however, that Google may take reasonable steps to protect its brand, its

reputation, and security. For example, licensees may elect, in their sole discretion, which queries

(some or all) for which they will request syndicated results and which syndication components to

display or use and may do so in any manner they choose. Google may not place any conditions

on how any licensee may use syndicated content under this Paragraph VII.A, nor may Google

retain, or use (in any way), syndicated queries or other information it obtains under this

Paragraph VII.A for its own products and services. For the avoidance of doubt, this Final

Judgment only requires Google to provide syndication for queries that originate in the United

States.

               1.      Search Syndication License Terms: The search syndication license must
                       have the following additional features:

                       a)     Google will make syndicated content available via an API that
                              provides responses with latency and reliability functionally
                              equivalent to what Google provides for its own SERP.

                       b)     Syndication will start with significant access to the data required
                              by Paragraph VII.A above and decline over the course of a 10-year
                              period with an expectation that licensees will become independent
                              of Google over time through investment in their own search
                              capabilities. The scope of allowable syndication will be determined
                              by the Plaintiffs in consultation with the TC.


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                       c)      Google may not consent to licensees exceeding syndication limits
                               set by Plaintiffs, and licensees must submit to the TC audits of
                               syndication frequency.

       B.      Search Text Ads Syndication License: Google must take steps sufficient to make

available to any Qualified Competitor, at no more than the marginal cost of this syndication

service, a syndication license whose term will be one (1) year from the date the license is signed

and which makes available all components of its Search Text Ads product, including all types of

Search Text Ads (including any assets, extensions, or similar Search Text Ad variations)

appearing on Google’s SERP or available through Google’s AdSense for Search. Google must

make the purchase of ads syndicated under this Section available to advertisers on a

nondiscriminatory basis comparable to Google’s other Search Text Ads. For each syndicated ad

result, Google must provide to the Qualified Competitor all Ads Data related to the result,

provide the license on a non-discriminatory basis, and may impose no restrictions on use,

display, or interoperability with Search Access Points, including of AI Products, provided,

however, that Google may take reasonable steps to protect its brand, its reputation, and security.

For example, licensees may elect, in their sole discretion, which queries (some or all) for which

they will request syndicated Search Text Ads and which syndication components to display or

use and may do so in any manner they choose. Google may not place any conditions on how any

licensee may use syndicated content under this Paragraph VII.B. Google may not retain or use

(in any way) syndicated queries or other information it obtains under this Paragraph VII.B for its

own products and services. For the avoidance of doubt, Google must only provide syndication

for queries that originate in the United States.




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               1.      Ads Syndication License Terms: The ads syndication license must have
                       the following additional features:

                       a)      Google must make syndicated content available via an API that
                               provides responses with latency and reliability functionally
                               equivalent to what Google provides for Search Text Ads displayed
                               on its own SERP.

                       b)      Licensees may not request syndicated ads for more than 25% of
                               the Search Text Ads they serve for queries originating in the
                               United States. Google may not consent to requests exceeding these
                               syndication limits, and licensees must submit to the TC audits of
                               syndication frequency.

       C.      The provisions of this Section VII will have no effect on any existing Google

syndication agreements with third parties or on its ability to enter into syndication contracts with

third parties other than Qualified Competitors, except that:

               1.      Google must permit any entity with an existing syndication agreement
                       who becomes a Qualified Competitor, at the Qualified Competitor’s sole
                       discretion, to terminate its existing agreement in favor of the remedies in
                       this Section VII.

               2.      Google must comply with Paragraph VII.A for all existing syndication
                       agreements between Google and third-party GSEs by the earlier of two (2)
                       years from the Effective Date or the term of any existing syndication
                       contract.

               3.      For any existing or future Google agreements licensing or syndicating any
                       search or search ads products to a Competitor, Google cannot:

                       a)      Enforce any provisions restricting use, display, or interoperability
                               with Search Access Points, including of AI Products, provided,
                               however, that Google may take reasonable steps to protect its
                               brand, its reputation, and security. For example, licensees may
                               elect, in their sole discretion, which queries (some or all) for which
                               they will request syndicated results and which syndication
                               components to display or use and may do so in any manner they
                               choose.

                       b)      Retain or use (in any way) syndicated queries or other information
                               it obtains from Competitors for its own products and services.




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       D.      No Circumvention of This Section’s Purposes: Google may not undertake any

action or omission with the purpose or effect of circumventing these provisions or frustrating the

purposes of this Section. Complaints regarding non-compliance with this provision will be

reviewed in the first instance by the TC in accordance with Paragraph X.C.3 below.

VIII. SEARCH TEXT AD TRANSPARENCY AND REDUCTION OF SWITCHING
      COSTS

       The purposes of the following remedies are to reduce entry barriers, afford advertisers

better data to inform product choices, and pry open the monopolized markets to competition,

including by providing advertisers with information and options providing visibility into the

performance and cost of their Google Search Text Ads and by providing the necessary ability to

optimize their advertising, including by purchasing Search Text Ads from Google Competitors.

       A.      Search Query Report: For each Search Text Ad served or clicked, Google must

make available to advertisers at the individual ad level for the preceding 18-month period, data

showing the query, keyword trigger, match type, cost-per-click (CPC), SERP positioning,

lifetime value (LTV), and any other metric necessary for the advertiser to evaluate its ad

performance. This data must be made available through an API that permits advertisers to

download raw data in real time, generate reports and summaries, and perform other analytical

functions to assess ad spend, ad performance, and in-campaign optimization (including the

ability to assess incremental clicks generated by Search Text Ads). This data must also be

provided to advertisers through periodic (at least monthly) autogenerated summaries accessible

through the Google ads system interface.

       B.      Keyword Matching: Google must make available to advertisers a keyword

matching option such that, when an advertiser chooses this matching option for a given keyword,

the advertiser’s ad will be eligible for the ad auction only when a query’s content exactly
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matches with no variation to the keyword selected by the advertiser. This same matching option

must also be made available for use with negative keywords.

         C.     Access to Data Reports: Google must not limit the ability of advertisers to export

in real time (by downloading through an interface or API access) data or information relating to

their entire portfolio of ads or advertising campaigns bid on, placed through, or purchased

through Google, including data relating to placement or performance (i.e., conversion data).

         D.     Search Text Ads Auction Changes: On a monthly basis, Google must provide the

TC and Plaintiffs a report outlining all changes made to its Search Text Ads auction in the

preceding month, provide (1) Google’s public disclosure of that change or (2) a statement why

no public disclosure is necessary, and further identify each change which Google considers

material. Plaintiffs have the right to challenge any disclosure they deem inadequate.

         E.     No Circumvention of This Section’s Purposes: Google may not undertake any

action or omission with the purpose or effect of circumventing these provisions or frustrating the

purposes of this Section. Complaints regarding non-compliance with this provision will be

reviewed in the first instance by the TC in accordance with Paragraph X.C.3 below.

IX.      LIMITATIONS ON DISTRIBUTION AGREEMENTS AND USER
         NOTIFICATION OF GSE CHOICES

         The purposes of the following remedies are to unfetter the markets from Google’s illegal

monopolization and deprive it of the fruits of its violations by informing users, including the

many users accustomed to Google’s default status on their existing Devices and Google Devices,

of their competitive choices for GSEs. These remedies are further intended to limit Google’s

ability to enter into or continue its anticompetitive distribution agreements.

         A.     Search Access Points On Non-Apple, Third-Party Devices: Google must not offer

or provide anything of value to any Distributor for any form of default, placement, or
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preinstallation distribution (including Choice Screens) related to a GSE or Search Access Point

on a non-Apple, third-party Device. Google must not take any action that would undermine,

frustrate, interfere with, or in any way reduce the ability of the Device or any third-party or

preinstalled Search Access Point to be configured to default to or otherwise interoperate with

non-Google GSEs or other competitive entrants. For every Google Search Access Point that was

preinstalled under a distribution agreement before the date of entry of this Final Judgment,

Google must offer the Distributor the option to display a Choice Screen to any user who has

Google as their default GSE on that Search Access Point, and for each Device displaying such

Choice Screen, receive from Google a fixed monthly payment for the remaining life of the

Device or one (1) year, whichever is shorter, equal to the average monthly amount that Google

paid to the Distributor for that Device during the shorter of the 12-month period prior to the date

of entry of this Final Judgment or the lifetime of the Device. For purposes of this Paragraph,

Chrome is a Google Search Access Point until it is divested.

       B.      Default GSEs On Non-Apple, Third-Party Search Access Points: Google must not

offer or provide anything of value to any Distributor for any form of default, placement, or

preinstallation distribution (including choice screens) related to making any GSE a default within

a new or existing Search Access Point.

       C.      Search Access Points On Google Devices: Google must not preinstall any Search

Access Point on any new Google Device. Google must not take any action that would

undermine, frustrate, interfere with, or in any way reduce the ability of the Device or any third-

party or preinstalled Search Access Point to be configured to default to or otherwise interoperate

with non-Google GSEs or other competitive entrants. On new Google Devices, Google may

display Choice Screens with Search Access Points of the same type as options. If the user selects

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the Google Search Access Point from the Choice Screen, a second Choice Screen must be

displayed to determine the default GSE for that Google Search Access Point. For each Search

Access Point preinstalled on an existing Google Device before the date of entry of this Final

Judgment, Google must (a) implement, through a software update or otherwise, a Choice Screen

or (b) cease providing responses from Google’s GSE to queries from that Search Access Point.

For purposes of this Paragraph, Chrome is a Google Search Access Point until it is divested.

        D.     Google Browsers: Google must display a Choice Screen on every new and

existing instance of a Google Browser where the user has not previously affirmatively selected a

default GSE for that Google Browser, including by changing the search default through the

settings.

        E.     Choice Screen Review By Plaintiffs And The TC: Google must disclose each

Choice Screen, the related distribution agreement, if relevant, and its plan for implementing that

Choice Screen to Plaintiffs and the TC at least sixty (60) days in advance of the Choice Screen

being displayed to any user. Each Choice Screen must provide users with a clear choice between

competing products and be designed to not preference Google, to be accessible, to be easy to use,

and to minimize choice friction, based on empirical evidence of user behavior. After consultation

with a behavioral scientist, the TC will report to Plaintiffs whether each Choice Screen satisfies

these requirements, and ultimately Plaintiffs must approve any Choice Screen offered pursuant to

this Final Judgment. Plaintiffs, in consultation with the TC, may require modifications to any

Choice Screen over time.

        F.     [The following provisions in Paragraph IX.F are proposed solely by the Colorado

State Plaintiffs. Plaintiff United States and its Co-Plaintiff States do not join in proposing these

remedies.] Public Education Fund: Google will fund a nationwide advertising and education

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program designed to inform users of the outcome of this litigation and the remedies in this Final

Judgment relating to GSE choices and disclosures of data. In order to lower the barrier to entry

created by Google’s brand recognition (ECF 1032 at 159–60) and to increase the effectiveness of

the Choice Screen remedy, that funding may include reasonable, short-term incentive payments

to users who voluntarily choose a non-Google default GSE on a Choice Screen. The Public

Education Fund’s creation and expenditures will be based on predicted outcomes, retrospective

analyses, and testing, which Colorado Plaintiff States will approve after consultation with the

Technical Committee. Nothing in this program will limit the ability of users to change any

Search Access Point or a search default on a Search Access Point, at any time as they choose.

        G.     No Circumvention of This Section’s Purposes: Google may not undertake any

action or omission with the purpose or effect of circumventing these provisions or frustrating the

purposes of this Section. Complaints regarding non-compliance with this provision will be

reviewed in the first instance by the TC in accordance with Paragraph X.C.3 below.

X.      EFFICIENT, EFFECTIVE, AND ADMINISTRABLE MONITORING AND
        ENFORCEMENT

        The purposes of the following remedies are to ensure the efficient, effective, and

administrable monitoring and enforcement of this decree.

        A.     Technical Committee:

               1.      Within thirty (30) days of entry of this Final Judgment, the Court will
                       appoint, pursuant to the procedures below, a five-person Technical
                       Committee (“TC”) to assist in enforcement of and compliance with this
                       Final Judgment.

               2.      The TC members must be experts in some combination of software
                       engineering, information retrieval, artificial intelligence, economics, and
                       behavioral science. No TC member may have a conflict of interest that
                       could prevent them from performing their duties in a fair and unbiased
                       manner. In addition, unless Plaintiffs specifically consent, no TC member:


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              a)     may have been employed in any capacity by Google or any
                     Competitor to Google within the six-month period directly
                     predating their appointment to the TC;

              b)     may have been retained as a consulting or testifying expert by any
                     party in this action; or

              c)     may perform any work for Google or any Competitor of Google
                     during the time that they serve on the TC and for one (1) year after
                     ceasing to serve on the TC.

        3.    Within seven (7) days of entry of this Final Judgment, Plaintiff United
              States (after consultation with the Co-Plaintiff States), the Colorado
              Plaintiff States, and Google will each select one member of the TC, and a
              majority of those three members will then select the remaining two
              members. Plaintiff United States’ appointee will serve as chair. The
              selection and approval process will be as follows:

              a)     As soon as practicable after submission of this Final Judgment to
                     the Court, the Plaintiffs as a group will identify to Google the
                     individuals they propose to select as their designees to the TC, and
                     Google will identify to Plaintiffs the individual it proposes to select
                     as its designee. No party may object to a selection on any ground
                     other than failure to satisfy the requirements of Paragraph X.A.2
                     above. Any such objection must be made within ten (10) business
                     days of the receipt of notification of selection.

              b)     The Plaintiffs will apply to the Court for appointment of the
                     persons selected pursuant to Paragraph X.A.3.a)X.A.3.a above.
                     Any objections to the eligibility of a selected person that the
                     parties have failed to resolve between themselves will be decided
                     by the Court based solely on the requirements stated in
                     Paragraph X.A.2 above.

              c)     As soon as practicable after their appointment by the Court, the
                     three members of the TC selected by the Plaintiffs and Google (the
                     “Standing Committee Members”) will identify to the Plaintiffs and
                     Google the persons that they in turn propose to select as the
                     remaining members of the TC. The Plaintiffs and Google must not
                     object to these selections on any grounds other than failure to
                     satisfy the requirements of Paragraph X.A.2 above. Any such
                     objection must be made within ten (10) business days of the receipt
                     of notification of the selection and must be served on the other
                     party as well as on the Standing Committee Members.

              d)     The Plaintiffs will apply to the Court for appointment of the
                     persons selected by the Standing Committee Members. If the
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                     Standing Committee Members cannot agree on the fourth or fifth
                     members of the TC, that member or members will be appointed by
                     the Court. Any objection by Plaintiffs or Google to the eligibility
                     of the person selected by the Standing Committee Members which
                     the parties have failed to resolve among themselves will also be
                     decided by the Court based solely on the requirements stated in
                     Paragraph X.A.2 above.

        4.    The Standing Committee Members will serve for an initial term of thirty-
              six (36) months; the remaining members will serve for an initial term of
              thirty (30) months. At the end of a TC member’s term, the party that
              originally selected them may, in its sole discretion, either request re-
              appointment by the Court to additional terms of the same length, or
              replace the TC member in the same manner as provided for in
              Paragraph X.A.3 above. In the case of the fourth and fifth members of the
              TC, those members will be re-appointed or replaced in the manner
              provided in Paragraph X.A.3 above.

        5.    If Plaintiffs determine that a member of the TC has failed to act diligently
              and consistently with the purposes of this Final Judgment, or if a member
              of the TC resigns, or for any other reason ceases to serve in their capacity
              as a member of the TC, the person or persons that originally selected the
              TC member will select a replacement member in the same manner as
              provided for in Paragraph X.A.3 above.

        6.    Promptly after appointment of the TC by the Court, the Plaintiffs will
              enter into a Technical Committee Services Agreement (“TC Services
              Agreement”) with each TC member that grants the rights, powers, and
              authorities necessary to permit the TC to perform its duties under this
              Final Judgment. Google must indemnify each TC member and hold them
              harmless against any losses, claims, damages, liabilities or expenses
              arising out of, or in connection with, the performance of the TC’s duties,
              except to the extent that such liabilities, losses, damages, claims, or
              expenses result from misfeasance, gross negligence, willful or wanton
              acts, or bad faith by the TC member. The TC Services Agreements must
              include the following:

              a)     The TC members will serve, without bond or other security, at the
                     cost and expense of Google on such terms and conditions as the
                     Plaintiffs approve, including the payment of reasonable fees and
                     expenses.

              b)     The TC Services Agreement will provide that each member of the
                     TC must comply with the limitations provided for in
                     Paragraph X.A.2 above.


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        7.    The TC must have the following powers and duties:

              a)     The TC will have the power and authority to monitor Google’s
                     compliance with its obligations under this Final Judgement.

              b)     The TC will have the power to set reasonable data security
                     standards applicable to Qualified Competitors, which will be
                     approved by the Plaintiffs.

              c)     The TC will have the power to evaluate Choice Screens and
                     recommend to Plaintiffs whether they comply with this Final
                     Judgment.

              d)     The TC may, on reasonable notice to Google:

                     (1)    interview, either informally or on the record, any Google
                            personnel, who may have counsel present; any such
                            interview will be subject to the reasonable convenience of
                            such personnel and without restraint or interference by
                            Google;

                     (2)    inspect and copy any document in the possession, custody,
                            or control of Google personnel;

                     (3)    obtain reasonable access to any system or equipment to
                            which Google personnel have access;

                     (4)    obtain access to, and inspect, any physical facility, building
                            or other premises to which Google personnel have access;
                            and

                     (5)    require Google personnel to provide compilations of
                            documents, data and other information, and to submit
                            reports to the TC containing such material, in such form as
                            the TC may reasonably direct.

              e)     The TC will have access to Google’s source code and algorithms,
                     subject to a confidentiality agreement, as approved by the Plaintiffs
                     and to be agreed to by the TC members pursuant to Paragraph
                     X.A.8 below, and by any staff or consultants who may have access
                     to the source code and algorithms. The TC may study, interrogate
                     and interact with the source code and algorithms in order to
                     perform its functions and duties, including the handling of
                     complaints and other inquiries from third parties.




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              f)    The TC will receive complaints from Google’s Compliance Officer
                    (as described in Section X.B below), third parties, or the Plaintiffs
                    and handle them in the manner specified in Section X.C below.

              g)    The TC must report in writing to the Plaintiffs, initially every three
                    (3) months for three (3) years and thereafter every six (6) months
                    until expiration of this Final Judgment, the actions it has
                    undertaken in performing its duties pursuant to this Final
                    Judgment, including the identification of each business practice
                    reviewed and any recommendations made by the TC.

              h)    Regardless of when reports are due, when the TC has reason to
                    believe that there may have been a failure by Google to comply
                    with any term of this Final Judgment, or that Google is attempting
                    to circumvent any provision of this Final Judgment or the goals of
                    this Final Judgment, the TC must immediately notify the Plaintiffs
                    in writing setting forth the relevant details.

              i)    TC members may communicate with third parties about how their
                    complaints or inquiries might be resolved with Google, so long as
                    the confidentiality of information obtained from Google is
                    maintained.

              j)    The TC may hire at the cost and expense of Google, with prior
                    notice to Google and subject to approval by the Plaintiffs, such
                    staff or consultants (all of whom must meet the qualifications of
                    Section X.A.2.a-c) as are reasonably necessary for the TC to carry
                    out its duties and responsibilities under this Final Judgement. The
                    compensation of any person retained by the TC will be based on
                    reasonable and customary terms commensurate with the
                    individual’s experience and responsibilities.

              k)    The TC must account for all reasonable expenses incurred,
                    including agreed upon fees for the TC members’ services, subject
                    to the approval of the Plaintiffs. Google’s failure to promptly pay
                    the TC’s accounted-for costs and expenses, including for agents
                    and consultants, will constitute a violation of this Final Judgment
                    and may result in sanctions imposed by the Court. Google may, on
                    application to the Court, object to the reasonableness of any such
                    fees or other expenses only if Google has conveyed such
                    objections to the Plaintiffs and the TC within ten (10) calendar
                    days of receiving the invoice for such fees or other expenses. On
                    any such application, (a) Google will bear the burden to
                    demonstrate unreasonableness; (b) Google must establish an
                    escrow account into which it deposits the disputed costs and
                    expenses until the dispute is resolved; and (c) the TC members will
                    be entitled to recover all costs incurred on such application
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                      (including reasonable attorneys’ fees and costs), regardless of the
                      Court’s disposition of such application, unless the Court expressly
                      finds that the TC’s opposition to the application was without
                      substantial justification.

               l)     [The following provision in Paragraph X.A.7.l is proposed solely
                      by the Colorado State Plaintiffs. Plaintiff United States and its Co-
                      Plaintiff States do not join in proposing this remedy.] The TC will
                      have the power to implement the Public Education Fund as
                      provided for in Paragraph IX.F above.

        8.     Each TC member, and any consultants or staff hired by the TC, must sign
               a confidentiality agreement prohibiting disclosure of any information
               obtained in the course of performing his or her duties as a member of the
               TC or as a person assisting the TC, to anyone other than another TC
               member or a consultant or staff hired by the TC, Google, the Plaintiffs, or
               the Court. All information gathered by the TC in connection with this
               Final Judgment and any report and recommendations prepared by the TC
               must be treated as Highly Confidential under the Protective Order in this
               case, and must not be disclosed to any person other than another TC
               member or a consultant or staff hired by the TC, Google, the Plaintiffs,
               and the Court except as allowed by the Protective Order entered in the
               Action or by further order of this Court. No member of the TC may make
               any public statements relating to the TC’s activities.

   B.   Internal Compliance Officer:

        1.     Google must designate, within thirty (30) days of entry of this Final
               Judgment, an employee of Google as the internal Compliance Officer with
               responsibility for administering Google’s antitrust compliance program
               and helping to ensure compliance with this Final Judgment.

        2.     Within seven (7) days of the Compliance Officer’s appointment, Google
               must identify to the Plaintiffs the Compliance Officer’s name, business
               address, telephone number, and email address. Within fifteen (15) days of
               a vacancy in the Compliance Officer position, Google must appoint a
               replacement and identify to the Plaintiffs the replacement Compliance
               Officer’s name, business address, telephone number, and email address.
               Google’s initial or replacement appointment of the Compliance Officer is
               subject to the approval of the United States, in its sole discretion, after
               consultation with the Co-Plaintiff States and the Colorado Plaintiff States.

        3.     The Compliance Officer must supervise the review of Google activities to
               ensure that they comply with this Final Judgment. The Compliance
               Officer may be assisted by other employees of Google.


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        4.    The Compliance Officer must be responsible for performing the following
              activities:

              a)     within thirty (30) days after entry of this Final Judgment,
                     distributing a copy of the Final Judgment to all officers and
                     employees of Google;

              b)     distributing a copy of this Final Judgment to any person who
                     succeeds to a position described in Paragraph X.B.4.a above within
                     thirty (30) days of the date the person starts that position;

              c)     ensuring that those persons designated in Paragraph X.B.4.a above
                     are annually trained on the meaning and requirements of this Final
                     Judgment and the U.S. antitrust laws and advising them that
                     Google’s legal advisors are available to confer with them regarding
                     any question concerning compliance with this Final Judgment or
                     the U.S. antitrust laws;

              d)     obtaining from each person designated in Paragraph X.B.4.a above
                     an annual written certification that he or she: (i) has read and
                     agrees to abide by the terms of this Final Judgment; and (ii) has
                     been advised and understands that his or her failure to comply with
                     this Final Judgment may result in a finding of contempt of court;

              e)     maintaining a record of all persons to whom a copy of this Final
                     Judgment has been distributed and from whom the certification
                     described in Paragraph X.B.4.d above has been obtained;

              f)     ensuring that all employees, and all new employees, receive a copy
                     of this Final Judgment and receive annual training on compliance
                     with the antitrust laws (the Compliance Officer will be responsible
                     for approving the content, schedule, and scope of delivery of
                     compliance training within Google with respect to: compliance
                     with the decree itself; substantive antitrust laws; and obligations to
                     preserve and produce materials for use in investigations,
                     litigations, or regulatory proceedings);

              g)     annually communicating to all employees that they may disclose to
                     the Compliance Officer, without reprisal for such disclosure,
                     information concerning any violation or potential violation of this
                     Final Judgment or the antitrust laws by Google, and establishing a
                     confidential avenue for any employee to report potential violations;

              h)     establishing and maintaining the website provided for in Paragraph
                     X.C.2.a below;



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               i)     receiving complaints from third parties, the TC, and the Plaintiffs
                      concerning Google’s compliance with this Final Judgment and
                      following the appropriate procedures set forth in Section X.C
                      below;

               j)     maintaining a record of all complaints received and action taken by
                      Google with respect to each such complaint; and

               k)     ensuring employees retain all relevant documents and
                      electronically stored information, regardless of medium or form,
                      related to this Final Judgement and all complaints received and or
                      action taken by Google with respect to any complaint.

        5.     Google must further appoint a senior business executive, who has
               visibility into any Google entity with obligations under this Final
               Judgment, who Google will make available to update the Court on
               Google’s compliance at regular status conferences or as otherwise ordered.

        6.     Google will retain a licensed attorney in good standing in California to
               collect documents and interview employees and generally review
               Google’s document retention practices and Google’s compliance with its
               legal discovery obligations. This attorney will be retained for a term no
               shorter than eighteen (18) months. This attorney (and any team this
               attorney assembles) will present to the Audit and Compliance Committee
               (or any successor Board Committee) on the retention of documents and
               Google’s compliance with its discovery obligations.

   C.   Voluntary Dispute Resolution:

        1.     Third parties may submit complaints concerning Google’s compliance
               with this Final Judgment to the Plaintiffs, the TC, or the Compliance
               Officer.

        2.     Third parties, the TC, or Plaintiffs in their discretion may submit to the
               Compliance Officer any complaints concerning Google’s compliance with
               this Final Judgment. Without in any way limiting their authority to take
               any other action to enforce this Final Judgment, the Plaintiffs may submit
               complaints to the Compliance Officer whenever doing so would be
               consistent with the public interest.

               a)     To facilitate the communication of complaints and inquiries by
                      parties, the Compliance Officer must place on Google’s website, in
                      a manner acceptable to the Plaintiffs, the procedures for submitting
                      complaints. To encourage whenever possible the informal
                      resolution of complaints and inquiries, the website must provide a
                      mechanism for communicating complaints and inquiries to the
                      Compliance Officer.
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              b)     Google has thirty (30) days after receiving a complaint to attempt
                     to resolve or to reject it.

              c)     Within thirty (30) days of receiving a complaint, the Compliance
                     Officer must advise the TC of the nature of the complaint and its
                     disposition. The TC may then take further actions consistent with
                     this Final Judgment, including consulting with Plaintiffs regarding
                     the complaint.

        3.    The Compliance Officer, third parties, or the Plaintiffs in their discretion
              may submit to the TC any complaints concerning Google’s compliance
              with this Final Judgment.

              a)     The TC must investigate complaints it receives and will consult
                     with the Plaintiffs regarding its investigation. At least once during
                     its investigation, and more often when it may help resolve
                     complaints informally, the TC will meet with the Compliance
                     Officer to allow Google to respond to the substance of the
                     complaint and to determine whether the complaint can be resolved
                     without further proceedings.

              b)     If the TC concludes that a complaint is meritorious, it will advise
                     Google and the Plaintiffs of its conclusion and its proposal for
                     cure.

              c)     Reports and recommendations from the TC may be received into
                     evidence by the Court in connection with any effort by any
                     Plaintiff to enforce this Final Judgment but must not be otherwise
                     made available in any other court or tribunal related to any other
                     matter. No member of the TC will be required to testify by
                     deposition, in court, or before any other tribunal regarding any
                     matter related to this Final Judgment.

              d)     The TC may preserve the anonymity of any third-party
                     complainant where it deems it appropriate to do so upon the
                     request of the Plaintiffs or the third party, or in its discretion.

   D.   Compliance Inspection:

        1.    Without in any way limiting the sovereign enforcement authority of each
              of the Colorado Plaintiff States, the Colorado Plaintiff States will form a
              committee to coordinate their enforcement of this Final Judgment. Neither
              a Co-Plaintiff State nor a Colorado Plaintiff State may take any action to
              enforce this Final Judgment without first consulting with the United States
              and with the Colorado Plaintiff States’ enforcement committee.


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               2.     For the purposes of determining or securing compliance with this Final
                      Judgment or of determining whether this Final Judgment should be
                      modified or vacated, upon written request of an authorized representative
                      of the Assistant Attorney General for the Antitrust Division (after
                      consultation with the Co-Plaintiff States and the Colorado Plaintiff States’
                      enforcement committee) or of the Attorney General of a Co-Plaintiff State
                      or the Attorney General of a Colorado Plaintiff State (after consultation
                      with the United States and the Colorado Plaintiff States’ enforcement
                      committee), as the case may be, and reasonable notice to Google, Google
                      must permit, from time to time and subject to legally recognized
                      privileges, authorized representatives, including agents retained by any
                      Plaintiff:

                      a)      to have access during Google’s office hours to inspect and copy, or
                              at the option of the Plaintiff, to require Google to provide
                              electronic copies of all books, ledgers, accounts, records, data, and
                              documents in the possession, custody, or control of Google relating
                              to any matters contained in this Final Judgment; and

                      b)      to interview, either informally or on the record, Google’s officers,
                              employees, or agents, who may have their individual counsel
                              present, relating to any matters contained in this Final Judgment.
                              The interviews must be subject to the reasonable convenience of
                              the interviewee and without restraint or interference by Google.

               3.     Upon the written request of an authorized representative of the Assistant
                      Attorney General for the Antitrust Division (after consultation with the
                      Co-Plaintiff States and the Colorado Plaintiff States’ enforcement
                      committee) or of the Attorney General of a Co-Plaintiff State or the
                      Attorney General of a Colorado Plaintiff State (after consultation with the
                      United States and the Plaintiff States’ enforcement committee), Google
                      must submit written reports or respond to written interrogatories, under
                      oath if requested, relating to any matters contained in this Final Judgment.

       E.      Anti-Retaliation: Google must not retaliate in any form against a person because it

is known to Google that the person is or is contemplating:

               1.     developing, distributing, promoting, syndicating, using, selling, offering,
                      or licensing any product or service that competes with—or facilitates
                      competition with—a Google-affiliated GSE or a Google-affiliated Search
                      Text Ads product;

               2.     filing a complaint related to Google’s compliance with this Final
                      Judgment;


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               3.      testifying, assisting, cooperating with, or participating in any manner in an
                       investigation, proceeding, hearing, or litigation related to Google’s
                       compliance with this Final Judgment; or

               4.      exercising any of the options or alternatives provided for under this Final
                       Judgment.

         F.    Anti-Circumvention: Google is enjoined from enforcing or complying with any

provision in any existing or future contract, agreement, or understanding which is otherwise

prohibited by this Final Judgment.

               1.      Google must not (i) engage in any conduct designed to replicate the effect
                       of any behavior found by the Court to violate the Sherman Act; (ii) engage
                       in any conduct substantially similar to conduct prohibited by another
                       Section of this Final Judgment or designed to evade any obligation
                       imposed by this Final Judgment; or (iii) engage in any conduct with the
                       purpose or effect of evading or frustrating the purposes of this Final
                       Judgment, as stated throughout this Final Judgment.

               2.      If Google is found liable in any federal court for a violation of the antitrust
                       laws involving GSE or Search Text Ads, the Court may, upon judicial
                       notice of the liability finding, automatically order the structural relief
                       provided for in Paragraph V.D above.

               3.      For the avoidance of doubt, the provisions in this Section X.F are
                       worldwide in scope and are applicable to Google’s conduct or contracts
                       regardless of where it occurred or purports to apply.

         G.    No Circumvention of This Section’s Purposes: Google may not undertake any

action or omission with the purpose or effect of circumventing these provisions or frustrating the

purposes of this Section. Complaints regarding non-compliance with this provision will be

reviewed in the first instance by the TC in accordance with Paragraph X.C.3 above.

XI.      RETENTION OF JURISDICTION AND ENFORCEMENT OF FINAL
         JUDGMENT

         A.    Jurisdiction is retained by this Court for the purpose of enabling any of the parties

to this Final Judgment to apply to this Court at any time for such further orders or directions as

may be necessary or appropriate for the construction or carrying out of this Final Judgment, for

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the modification of any of the provisions hereof (including an order divesting any relevant

Google business), for the enforcement of compliance herewith, and for the punishment of any

violation hereof. In any motion to modify this Final Judgment, Plaintiffs need not show any

change in circumstances, but need only demonstrate that modification is necessary to achieve the

ultimate goals of this Final Judgment to restore competition in the monopolized markets. In any

action to enforce this Final Judgment, Google must show by a preponderance of the evidence

that its actions are in compliance with this Final Judgment.

       B.      The Court may act sua sponte to issue orders or directions for the construction or

carrying out of this Final Judgment, for the enforcement of compliance therewith, and for the

punishment of any violation thereof.

       C.      This Final Judgment should be interpreted to give full effect to the procompetitive

purposes of the antitrust laws and to restore the competition the Court found was harmed by

Google’s illegal conduct.

       D.      For a period of four (4) years following the expiration of this Final Judgment, if

any Plaintiff has evidence that Google violated this Final Judgment before it expired, that

Plaintiff may file an action against Google in this Court requesting that the Court order

(1) Google to comply with the terms of this Final Judgment for an additional term of at least four

(4) years following the filing of the enforcement action; (2) all appropriate contempt remedies;

and (3) additional relief needed to ensure Google complies with the terms of this Final Judgment.

       E.      In connection with a successful effort by any Plaintiff to enforce this Final

Judgment against Google, whether litigated or resolved before litigation, Plaintiff may request

that the Court order Google to reimburse that Plaintiff for the fees and expenses of its attorneys,




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as well as all other costs, including experts’ fees, incurred in connection with that effort to

enforce this Final Judgment, including in the investigation of the potential violation.

XII.   EFFECTIVE DATE AND EXPIRATION OF FINAL JUDGMENT

       This Final Judgment will take effect thirty (30) days after the date on which it is entered,

and Plaintiffs must report the date on which Google has substantially implemented all provisions

of this Final Judgment (the “Effective Date”). Unless the Court grants an extension or early

termination is granted, this Final Judgment will expire ten (10) years from the Effective Date.

This Final Judgment may be terminated upon notice by the United States (after consultation with

the Co-Plaintiff States), the Colorado Plaintiff States’ enforcement committee, and Google that

continuation of this Final Judgment is no longer necessary to restore competition in the

monopolized markets. Alternatively, if Google has substantially complied with all terms of this

Final Judgment for at least the preceding five (5) years and if Google’s Competitors’ combined

market share in U.S. GSEs, as measured by the six-month moving medians of two industry

standards, agreed upon by Google and the Plaintiffs, is greater than 50% (excluding all

syndicated queries), Google may petition the Court to terminate this Final Judgment on the

grounds that competition in both relevant markets has increased so substantially that this Final

Judgment is no longer needed.

XIII. THIRD-PARTY RIGHTS

       Nothing in this Final Judgment is intended to confer upon any other persons any rights or

remedies of any nature whatsoever hereunder or by reason of this Final Judgment other than the

right to submit complaints to the Compliance Officer and the TC.




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XIV. FEES

       Plaintiffs are prevailing parties in this litigation. Google is ordered to pay Plaintiff United

States’ reasonable attorneys’ fees and costs, the Co-Plaintiff States’ reasonable attorneys’ fees

and costs, and the Colorado Plaintiff States’ reasonable attorneys’ fees and costs.



Date: __________________



                                                              ______________________________
                                                              Judge Amit Mehta
                                                              United States District Judge




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